Case 1:17-CV-02981-L|\/||\/| Document 38-1 Filed 02/01/18 Page 1 of 13

EXHIBIT “A”

Case 1:17-CV-02981-L|\/||\/| Document 38-1 Filed 02/01/18 Page 2 of 13

sms oF eeoRGIA )
) mLANncoMPLETE
)

COUNI`Y OF FULTON RELEASE AND SETTLEMENT AGREEMENT

'Ibis Full and Complete Settlement Agreement (“Agreement”) is made and entered into by

and between Donte Anderson (“Anderson”) and Southeastern Pizza Group Two, LLC.
WITNESSETH:

WHEREAS, Andcrson has asserted certain claims under the Fair Labor Standards Act
(“FLSA”) arising out of his employment as a delivery driver for Southeastem Pizza Group "l`wo,
LLC, specifically having filed a lawsuit which is currently pending in the United States District
Court for the Northern District of Georgia, Atlamn Division, captioned DONTEANDER.SON el al v_
SOUTHEASTERNP!ZZ»! GROUP, LLC, a Geargia LimitedLiabilily Company, S()UTHEASTERN
PIZZA GROUP TWO, LLC, a Georgia Limz'ted Liability Company, SOUTHEASTERN PIZZA
GROUP THREE, LLC, a Florida Limited Liabiliry Company, JEM PIZZA GROUR LLC. a South
Carolina Limited Liability Company, JEM P]HA IL LLC, a Soulh Caroll'na Limited Lz`abilily
Company, and JEM PIZZA_ GROUP THREE, LLC, Civil Action No. l: 17-298 (“the lawsuit”)',

WHEREAS, Southeastern Pizza Group, LLC, Southeastem Pizza Group Threc, LLC, JEM

Pizza Group, LLC, JEM Pizza H, LLC, and JEM Pizza Group Three, LLC filed a Motion and

Memorandum in Support of the Motion to Dismiss the Lawsuit and Southeastem Pizza Group Two,
LLC, filed an Answer to the Lawsuit, denying all substantive allegations and asserting a number of
defenses;

WHEREAS, Anderson and Southeastern Pizza Group Two, LLC (“the Parties”) desire to
avoid protracted litigation and the expenses incident thereto and at the same time forever set to rest

the differences existing between them.

nte Andetson

4
j 2 l utheastem Piz.za Group Two, LLC

 

 

Case 1:17-CV-02981-L|\/||\/| Document 38-1 Filed 02/01/18 Page 3 of 13

NOW, THEREFORE, IN CONSIDERATION of the promiscs, covenants, and agreements
contained herein, the Parties agree hereto as follows:

1. Payx_r_rent/Consideration. Southeastem Pizza Group 'I‘wo, LLC agrees: (a) to pay to
Anderson a lump sum payment ofFive Thousand Five Hundred and No/ 100 Dollars ($5,500.00) for
alleged unreimbursed expenses with regard to using his car for deliveries; (b) to pay to the law firm
representing Anderson, Morgan & Morgan, a lump sum payment ofThree Thousand Seven Hundred
Fifty and No/ 100 Dollars ($3,750.00) for legal fees and costs; and (c) in response to any query
directed specifically to Melissa Benson, Vice President of Hurnan Resourccs, by any prospective
employer ofAnderson, to provide a neutral reference, indicating Anderson’s dates of employment,
pay rate(s) and position(s). Anderson understands that a 1099 will be issued for the payment to
Morgan & Morgan and understands and agrees that he is solely responsible for any taxes that may be
due on the sums paid to him. Checks will be delivered to Morgan & M`organ within three days, and

the Parties agree the sums can be released immediately upon approval by the Coult of this

Agreement.

2. Release. In consideration of the benefits conferred by this Agreement, the receipt and

 

sufficiency of which is hereby acknowledged, Anderson, for himself, his heirs, agents,
represemarives, and assigns does hereby release, acquit, and forever discharge Southeastem Pizza
Group, LLC, Southeastem Pizza Group Two, LLC, Southeastern Pizza Group Three, LLC, JEM
Pizza Group, LLC, JEM Pizza II, LLC, and JEM Pizza Group 'l`hree, LLC, each of them individually
and each of their parent companies, subsidiaries, predecessors, successors, affiliates, agents,
representatives, oiiicers, employees, attomeys, owners, members, panners, shareholders, scrvants,

insurers, attorneys, assigns and all other persons or firms who can or may be liable (“Released

Donte Anderson

v ') ¢
12 lb Southeastern P.¢ Group 'I`wo, LLC

 

 

Case 1:17-CV-02981-L|\/||\/| Document 38-1 Filed 02/01/18 Page 4 of 13

Parties” , from any and all claims, causes ofaction, liability, damages, and/or losses of whatever kind
or nature, known or unknown, whether in law or equity, which Anderson everhad or nowhas arising
directly or indirectly out of his employment with any Relcascd Party and from such claims which
were or could have been alleged in the lawsuit (collectively7 “Claims”).

This release includes, but is not limited to, any Claims individually or as a representative
relating to failure to pay compensation wages, expenses or reimbursements under the Fair Labor
Standards Act (“FLSA”), and discrimination, harassment, and retaliation of every type prohibited by
law. This release is for any relief, no matter how describcd, including, but not limited to, back pay,
front pay, compensatory damages, costs, reimbursements, punitive damages, or damages for pain and
suffering or mental anguish

3. Future Employrnent. Anderson will not seek, take, cause or permit to be taken, any
action now or at any point in the future to enter into active employment with any Released Party.
Anderson agrees not to knowingly apply for employment at any time henceforth with any Released
Party.

4. Aclcnowledgement, Dis_rnr__`ssal and Withdrawal. Anderson hereby acknowledges full

satisfaction and settlement of all claims and causes of action and fully understands that neither he nor

any of his heirs, executors, administrators, agents, rcpresentatives, or assigns can make any further
cla.im, accrued through the date of this Agreement, against the persons, firms or corporations who are
hereby released or by any person or persons representing them or any of them. Anderson agrees l'hat,
subject to approval of this Agreement by the Court, the lawsuit is ended with prejudice and directs

his attorney to dismiss the Lawsuit with prejudice

te Anderson

\/ /Z€ Sotrtbeastcrn Pizm Group Two, LLC

 

 

Case 1:17-CV-02981-L|\/||\/| Document 38-1 Filed 02/01/18 Page 5 of 13

5. Unde;g§nding. lt is distinctly undersde and agreed as follows: a) that this Release
shall act and operate as a Full and Complete Release of all persons and entities, from any and all
liability on account of the acts and things above set out; b) that it shall cover all injuries and
damages, known or unknown, regardless of whether the injuries or damages are more serious or
different than now known or understood to be; c) that it shall not be subject to any claim of mistake
of faot; d) that this Relcase expresses a full and complete settlement of a liability claimed and denied;
and e) regardless of the adequacy or inadequacy of the amount paid, it is intended to be and is final
and complete.

6. Disclaimer of Liability. Anderson specifically agrees that this settlement is the
compromise of potential, doubtful and disputed claims, and that the payment made in settlement
thereof is not to be construed as an admission of liability or wrongdoing of any kind on the part of
the Released Parties or any of them. and that the said Released Parties d-y liability of any nature or
kind to Anderson. Anderson further agrees that neither this Agreement, its terms, the fact that it has
been executed, nor any actions taken by the Parties to implement its terms, shall be admissible as
evidence or relied on or used in any fashion to support any contention or allegation of wrongdoing of

any kind on the part of the Released Parties; provided, however, that in an action to enforce the terms
ofthis Agr¢cmcnt, a true and correct copy of the Agreement and evidence of actions taken pursuant

thereto shall be admissible to establish its terms and the performance or nonperformance of the

party's obligations thereunder.
7. No Sul_)rogati.on or Lien lgtegs_t§. Anderson represents and warrants that there are no

subrogation or lien interests as to any claim herein released Anderson understands and agrees that

he is solely responsible for satisfying any and all outstanding bills, assignments liens, demands

4
%nte Anderson

, j
`/[ Q § Southeastem Pizzs Group 'l`wo, LLC

 

 

Case 1:17-CV-02981-L|\/||\/| Document 38-1 Filed 02/01/18 Page 6 of 13

actions, and all other suits or claims, in law or equity, to the proceeds of this settlement that may be

asserted by any federal, state, and!or local governmental agency, or any private individual or

organization or any other person or entity.

8. Entire Ag;eement W"uh the express exception of.any Arbitration Agreemcnt signed
by Anderson as pan of his application for and employment with Southeastem Pizza Group Two,
LLC, this Agrecment supersech all other understandings and et;;reerm=:nts7 oral or written, between
the Parties with respect to all disputes between them and constitutes the sole agreement between the
Pax'ties. Anderson aclmowledges that no representations, inducements, promises, or agteements, oral
or Written, have been made by the Released Parties or by anyone acting on their behalf which are not
embodied in this Agreement, that no agreement statement or promise not contained in this
Agreement shall be valid or binding on the Released Parties, and that the terms of this Agreement are
contractual and not a mere recital.

9. §omplete §ar. Anderson fm'ther agrees that the consideration paid in this Agreement
is and shall bc a complete bar to any subsequent action or proceeding to set aside or vacate this
instrument because of a mistake in fact or otherwise

l0. Goveming Law. 'Iliis Agreement shall be governed by Georgia law.

me Anderson

Southeastem Pizza Group Two, LLC

 

 

Case 1:17-CV-02981-L|\/||\/| Document 38-1 Filed 02/01/18 Page 7 of 13

ANDERSON HEREBY DECLARES AND REPRES ENTS 'I`HA'I` HE HAS CAREFULLY READ
'I`HE FOREGOING AGREEMENT IN ITS EN'I`IRETY OR HAD IT READ 'l"O HIM, THAT HE

UNDERSTANDS ITS CONSEQUENCES AND 'I'HAT HE VOLUNTAR.ILY AGREES 'I`O BE
BOUND BY lTS TERMS AND CONDITIONS.
'l`his 2£day of.lanuary, 2018.

WITNESS:

 

 

Donte Anderson \

WZ/W //2-//{/ /

Soutltl:astcm Piz?a Group 'l\vo, LLC

By= ”Z"’//J)'zz é?/é,f
I'S; MU'%J€;/K// Z/ ///{),

Donte Anderson

Southeastem Pizzz Group Two. LLC

 

 

Case 1:17-CV-02981-L|\/||\/| Document 38-1 Filed 02/01/18 Page 8 of 13

STATE OF GEORGIA

RELEASE AND SETTLEMENT AGREEMENT

l
) FULLAND COMPLETE
COUNTY OF FULTON )

'l`his Full and Cornplcte Settlement Agreement (“Agreement”) is made and entered into by

and between lohn Wanza (“Wanza’? and Southeastem Pizza Group Two, LLC. -
Wl'l`NESSETH;

WHEREAS, Wanza has asserted certain claims under the Fair Labor Standards Act (“FLSA”)
arising Out of his employment as a delivery driver for Southeastem Pizza Group Two, LLC,
specifically having filed an intent or notice to join the lawsuit which is currently pending in the
United States Distnet Court for the Northem Distriet of Georgia, Atlanta Division, captioned
DONTEANDERSON, el al v. SOUTHEASTEKNPIZZA GROUP, LLC, a Georgz`a Limired Liability
Company, SOUTHMSTERN PIZZA GROUP TWO, LLC, a Georgz`a Limited Liability Campany
SOUTHEASTERN PIZZA GROUP THREE, LLC, a Florida L£mt'ted Lt'abz‘lity Company, JEMP!ZZA
GROUP. LLC, a South Carolina Lz'mz'ted Liabilz'ly Company, JEM PIZZA lI, LLC, a 80th Carolina
Limited Liahility Company, and JEM PIZZA GROUP THREE, LLC, Civil Action No. l: 17-298
(“the Lawsuit”);

WHEREAS, Soutbeastcm Piz.za Group, LLC, Southeastem Pizza Group Three, LLC, JEM

Pizza Group, LLC, JEM Pizza lI, LLC, and JEM Pizza Group 'Pnree, LLC filed a Motion and
Memorandum in Supp'ort of the Motion to Dismiss the Lawsuit and Southeastern Pizza Group TWO,
LLC, filed an Answer to the Lawsuit, denying all substantive allegations and asserting a number of

defenses;

John Wanza

~ Southeastern Pizz:a Group Two, LLC

 

Case 1:17-CV-02981-L|\/||\/| Document 38-1 Filed 02/01/18 Page 9 of 13

WHEREAS. Wanza and Soutlteastem Pizza Group Two, LLC (“the Parties”) desire to avoid
protracted litigation and the expenses incident thereto and at the same time forever set to rest the

differences existing between them.

NOW, THEREFORE, IN CONSIDERATION of the promises, covenants, and agreements
contained herein, the Parties agree hereto as follows:

l . Pay;nent/Consideration. Southeastem Pizza Group Two, LLC agrees: (a) to pay to
Wanza a lump sum payment of Two ’l’housand and No/ 100 Dollars ($2,000.00) for alleged
unreimbursed expenses with regard to using his car for deliveries; (b) to pay to the law firm
representing Wanza, Morgan & Morgan, a lump sum payment of Three Thousand Seven Hundred
Fifty and No/ 100 Dollars ($3,750.00) for legal fees and costs; and (c) in response to any query
directed specifically to Melissa Benson, Vice President of Human Resources, by any prospective
employer of Wanza, to provide a neutral reference, indicating Wanza’s dates of employment, pay
rate(s) and position(s). Wanza understand that a 1099 will be issued for the payment to Morgan &
Morgan and understands and agrees that he is solely responsible for any taxes that may be due on the
sums paid to him. Checks will be delivered to Morgan & Morgan within three days, and the Parties

agree the sums can be released immediately upon approval by the Court ot`this AgreemenL

2. Release. In consideration of the benefits conferred by this Agreement, the receipt and

 

sufficiency of which is hereby acknowledged, Wanza, for himself, his heirs, agents, representatives,
and assigns does hereby release, acquit, and forever discharge Southeastern Pizza Group, LLC,
Southeastern Pizza Group Two, LLC, Southeastern Pizza Group Three, LLC, IEM Pizza Group,
LLC, JEM Pizza Il, LLC, and JEM Pizza Group 'I`hree, LLC, each of them individually and each of

their parent companies, subsidiaries, predecessors, successors, atliliates, agents, representatives,

2

John Wanm

Southeastem Pizza Group Two, LLC

 

Case 1:17-CV-02981-LI\/||\/| Document 38-1 Filed 02/01/18 Page 10 of 13

officers, employees, artomeys, owners, members, partners, shareholders, servants, insurers, attorneys,

assigns and all other persons or fmns who can or may be liable (“Released Parties”), from any and

all claims, causes of action, liability, damages, and/or losses of whatever kind or naturc, known or

unknown, whether in law or equity, which Wanza ever had or now has arising directly or indirectly
out of his employment with any Released Party and from such claims which were or could have been
alleged in the lawsuit (collectively, “Claims”).

'l`his release includes, but is not limited to, any Claims individually or as a representative
relating to failure to pay eompensation, wages, expenses or reimbursements under the Fair Labor
Standards At (“FLSA”), and discri mination, harassment, and retaliation of every type prohibited by
law. This release is for any relief, no matter how described, including, but not limited lO, back pay,
front pay, compensatory damages, costs, reimbursements, punitive darnages, or damages for pain and
suffering or mental anguish

3. Future Emplogr_nent. Wanza will not seek, take, cause or permit to be taken, any
action now or at any point in the future to enter into active employment with any Released Party.
Wanza agrees not to knowingly apply for employment at any time henceforth with any Released
Party.

4. Aelmowieagemem, gismtssai and Wirhdrawai. wanza hereby acknowledges run
satisfaction and settlement of all claims and causes of action and fully understands that neither he nor
any of his heirs, executors administrators, agents, representatives or assigns can make any further
claim, accrued through the date of this Agreement, against the persons, firms or corporations who are

hereby released or by any person or persons representing them or any ofthem. Wanza agrees that,

John Wanz.a

l Southeastern Pizza Group Two, LLC

 

Case 1:17-CV-02981-LI\/||\/| Document 38-1 Filed 02/01/18 Page 11 of 13

subject to approval of this Agreement by the Conrt, the Lawsuit is ended with prejudice and directs

his attorney to dismiss his intent to join and the Lawsuit with prejudice

5. Understanding. lt is distinctly understood and agreed as follows; a) that this Release
shall act and operate as a Ful l and Cornplete Release of all persons and entities, from any and all
liability on account of the acts and things above set out; b) that it shall cover all injuries and
damages, known or unknown, regardless of whether the injuries or damages are more serious or
different than now imown or understood to be; c) that it shall not be subject to any claim of mistake
offact; d) that this Release expresses a full and complete settlement of a liability claimed and denied;
and e) regardless of the adequacy or inadequacy of the amount paid, it is intended to be and is final
and complete

6. Disclairner of Liabllig;. Wanza specifically agrees that this settlement is the
compromise ofpotential, doubtful and disputed claims, and that the payment made in settlement
thereof is not to be construed as an admission of liability or wrongdoing of any kind on the part of
the Released Parties or any ofthem, and that the said Released Parties deny liability of any nature or
kind to Wanza. Wanza timber agrees that neither this Agreement, its terms, the fact that it has been

executed, nor any actions taken by the Parties to implement its terms, shall be admissible as evidence

or relied on or used in any fashion to support any contention or allegation of wrongdoing ofany kind
on the part of the Released Parties; provided, however, that in an action to enforce the terms of this
Agreement, a true and correct copy ofthe Agreement and evidence of actions taken pursuant thereto
shall be admissible to establish its terms and the performance or nonperformance of the party’s

obligations thereunder.

lohn Wanza

Southeastem Pizza Group Two. LLC

 

Case 1:17-CV-02981-LI\/||\/| Document 38-1 Filed 02/01/18 Page 12 of 13

7. No Subrogation or Lien Interests. Wanza represents and warrants that there are no
subrogation or lien interests as to any claim herein released. Wanza understands and agrees that he is
solely responsible for satisfying any and all outstanding bills, assignments liens, demands actions,
and all other suits or claims, in law or equity, to the proceeds of this settlement that may be asserted
by any federal, state, and/or local governmental agency, or any private individual or organization or
env other person or entity.

8. Entire Ageement. With the express exception of any Arbitration Agreement signed
by Wanza as part of his application for and employment with Southeastem Pizza Group Two, LLC,
this Agreement supersedes all other understandings and agreements oral or written, between the
Parties with respect to all disputes between them and constitutes the sole agreement between the
Parties. Wanza acknowledges that no representedone3 inducements promises, or agreements oral or
written, have been made by the Released Parties or by anyone acting on their behalf which are not
embodied in this Agreement, that no agreement, statement or promise not contained in this
Agreement shall be valid or binding on the Released Parties, and that the terms of this Agreement are
contractual and not a mere recital.

9. Comgletg Bar. Wanza further agrees that the consideration paid in this Agreement is

and shall be a complete bar to any subsequent action or proceeding to set aside or vacate this
instrument because of a mistake in fact or otherwise

lO. Goveming Law. 'l`his Agreement shall be governed by Georgia law.

 
 

Jonn Wanza

a Southeastem Pizza Group Two, LLC

 

Case 1:17-CV-02981-LI\/||\/| Document 38-1 Filed 02/01/18 Page 13 of 13

WANZA HEREBY DECLARES AND REPRESENTS THAT HE HAS CAREFULLY READ THE
FOREGOING AGREEIV{ENT IN ITS EN'{`IRETY OR HAD I'l` READ TO HIM, THAT HE
UNDERSTANDS I'I`S CONSEQUENCES AND THAT HE VOLUNTARILY AGREES TO BE
BOUND BY ITS TERMS AND CONDITIONS.

 

 

 

 

 

 

This &;>_ day ofJanuary, 2018_
WI'I`NESS:
/¢é_/§¢ %j @"]/1--
fo V
“/Y.MM f@/L¢
Southeastem Pizza Grou;§Two, LLC ~
By; /'//?]f//'J‘ Ja' /C’/Q/<‘/' /
. 17 - '.-'
Its: V(` ('("' /Z'FJ/"(/€’/¢ `/ g /'//€/
6
John Wanza

L
47 b Southeastem Pizza Group Two, LLC

 

